Dear Ms. Laurence:
On behalf of Assessor Sherel A. Martin, Jr., you have requested an opinion of this office regarding the entitlement of a certain taxpayer to a homestead exemption on a residence owned by the taxpayer in St. Mary Parish. The taxpayer has an out of state mailing address, and is, apparently, rarely at the residence upon which she claims an exemption. In particular, Mr. Martin questions whether this taxpayer meets "the residency requirements" for a homestead exemption.
Please be advised that it is beyond the purview of this office to determine whether a particular taxpayer's property is entitled to a homestead exemption. As stated in previous opinions of this office, that determination is a factual one which is the responsibility of the various assessors, subject to the review of the Tax Commission, and ultimately by the courts. La. Const. Art. VII, Sec. 18; R.S. 47:1952.
However, it is the opinion of this office that the legal "residency" or "domicile" of the owner of a particular residence is not directly relevant to a determination of whether that residence qualifies as a "bona fide homestead" for purposes of the homestead exemption. Rather, La. Const. Art. VII, Sec. 20(A) refers to the requirement that the residence be "owned andoccupied by any person".
Unfortunately, our research of the jurisprudence of this state reveals no definition of the word "occupied" for purposes of the homestead exemption. Mr. Martin may, however, wish to refer to Atty. Gen Op. No. 96-99 (which was recently released to Mr. Martin by this office) as it contains a discussion of "occupancy" by individuals who are absent from the residence upon which the homestead exemption is sought. I am also enclosing a copy of Atty. Gen Op. No. 92-269, which contains a comprehensive discussion of the few cases, and also the opinions of this office that have addressed, to the extent possible, "occupancy" for purposes of the homestead exemption.
Trusting the foregoing to be of some assistance, we remain,
Yours very truly,
                              RICHARD P. IEYOUB Attorney General
                             By: _________________________________ JEANNE-MARIE ZERINGUE BARHAM Assistant Attorney General
RPI:JMZB:jv
cc: Hon. Sherel A. Martin, Jr.
Date Received: 4/22/96
Date Released:
JEANNE-MARIE ZERINGUE BARHAM, ASSISTANT ATTORNEY GENERAL